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PROB 22                                                                                                          CASE NUMBER (Tran. Court)
(Rev. 2/88)                                                                                                      2:09CR00744-04
                              TRANSFER OF JURISDICTION
                                                                                                                 CASE NUMBER (Rec. Court)



NAME AND ADDRESS OF SUPERVISED RELEASEE:                                     DISTRICT                            DIVISION
Moussa Ali Hamdan                                                            Eastern District
7107 Anthony Street                                                          of Pennsylvania
Dearborn, MI 48126                                                           NAME OF SENTENCING JUDGE
                                                                             The Honorable Stewart Dalzell

                                                                             DATES OF SUPERVISED RELEASE:        FROM            TO
                                                                                                                 10/29/19        10-28-21
OFFENSE


18:2339B conspiring/attempting to provide material support to a foreign terrorist organization (Count Three); 18:371
conspiracy (Counts Five, Seven, Nine, 20 and 31); 18:473 & 2 dealing in counterfeit obligation/security & aiding &
abetting (Count Six); 18:1543 & 2 passport fraud & aiding and abetting (Count Eight); 18:2314, 21 & 2 transportation
of stolen goods & aiding and abetting (Count 10 through 19); 18:2320 & 2 trafficking in counterfeit goods and aiding &
Abetting (Counts 21 through 28); and 18:1001 & 2 false statements to government officials & aiding and abetting
(Counts 29 & 30)
PART 1 - ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE Eastern           District of Pennsylvania
        IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the supervised releasee named
above be transferred with the records of the Court to the United States District Court for the District of Michigan upon
that Court’s order of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation may be
changed by the District Court to which this transfer is made without further inquiry of this Court.*




              July 23, 2020
          Date                                                                    United States District Judge

*This sentence may be deleted in the discretion of the transferring Court.

PART 2 - ORDER ACCEPTING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE District of Michigan

       IT IS HEREBY ORDERED that jurisdiction over the above-named supervised releasee be accepted and
assumed by this Court from and after the entry of this order.




          Effective Date                                                          United States District Judge
